






Opinion issued April 3, 2008









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-01022-CV

____________


COASTAL SIGNS, INC., Appellant


V.


CITY OF HOUSTON, Appellee






On Appeal from the 333rd District Court

Harris County, Texas

Trial Court Cause No. 2007-66446






MEMORANDUM OPINION

	Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Higley.


